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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

   -------------------------------------- x
   In re:                                                             : Chapter 11
                                                                      :
   HOUGHTON MIFFLIN                                                   : Case No. 12-12171 (REG)
   HARCOURT PUBLISHING COMPANY, et al.,1                              :
                                                                      : Jointly Administered
                                               Debtors.               :
   -------------------------------------- x

                                      AFFIDAVIT OF SERVICE

     I, Leticia Salas, depose and say that I am employed by Kurtzman Carson Consultants
   LLC (KCC), the claims and noticing agent for the Debtors.

       1. On June 15, 2012, at my direction and under my supervision, employees of KCC
          caused the following documents to be served via Overnight Mail on the service
          list attached hereto as Exhibit A; and via Electronic Mail on the service list
          attached hereto as Exhibit B:

            •   Notice of Agenda of Matters Scheduled for Hearing on June 18, 2012 at 9:45
                a.m. [Docket No. 102]

            •   Final Declaration of Peter Walsh of Kurtzman Carson Consultants LLC
                Regarding the Mailing, Voting and Tabulation of Ballots Accepting and
                Rejecting the Prepackaged Chapter 11 Plan of Reorganization for Houghton
                Mifflin Harcourt Publishing Company, Et Al. [Docket No. 105]

       2. Furthermore, on June 15, 2012, at my direction and under my supervision,
          employees of KCC caused the following document to be served via Overnight
          Mail on the service lists attached hereto as Exhibit A, Exhibit C and Exhibit D;
          and via Electronic Mail on the service list attached hereto as Exhibit B:


   1
       The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
       number, are Houghton Mifflin Harcourt Publishing Company (6030), Houghton Mifflin Harcourt
       Publishers Inc. (7305), HMH Publishers, LLC (7173), Houghton Mifflin Holding Company, Inc.
       (2898), Houghton Mifflin, LLC (2961), Houghton Mifflin Finance, Inc. (2812), Houghton Mifflin
       Holdings, Inc. (0674), HM Publishing Corp. (5843), Riverdeep Inc., a Limited Liability Company
       (9612), Broderbund LLC (6113), RVDP, Inc. (2557), HRW Distributors, Inc. (4902), Greenwood
       Publishing Group, Inc. (4537), Classroom Connect, Inc. (3282), ACHIEVE! Data Solutions, LLC
       (7499), Steck-Vaughn Publishing LLC (6929), HMH Supplemental Publishers Inc. (7571), HMH
       Holdings (Delaware), Inc. (6372), Sentry Realty Corporation (6742), Houghton Mifflin Company
       International, Inc. (9100), The Riverside Publishing Company (0173), Classwell Learning Group Inc.
       (9252), Cognitive Concepts, Inc. (5986), Edusoft (9992), and Advanced Learning Centers, Inc. (2861).
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                              Exhibit A
                                             12-12171-reg               Doc 107               Filed 06/18/12 Exhibit
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                                                                                                               Overnight Service List

          PARTY DESCRIPTION                          COMPANY                               CONTACT                                ADDRESS 1                        ADDRESS 2                  CITY       STATE       ZIP     COUNTRY
    Top 20 Creditor                      ADP National Account Service         Gayle Kuhr                              99 Jefferson Rd                                                  Parsippany        NJ            07054
    Counsel for the Informal Creditor    Akin Gump Strauss Hauer & Feld,      Ira S. Dizengoff & Philip C. Dublin &
    Group                                LLP                                  Rachel Ehrlich Albanese                 One Bryant Park                                                  New York          NY           10036
    Top 20 Creditor                      American Express                     Donna Janeczko                          P.O. Box 410406                                                  Salt lake City    UT           84141
    Top 20 Creditor                      APC Workforce Solutions LLC          Jinnene Marin                           420 S. Orange Avenue                 Suite 600                   Orlando           FL      32801-4902
    Senior Secured Notes Trustee         BNY Mellon                           Ray O’Neil, Relationship Manager        525 William Penn Place, 38th Floor                               Pittsburgh        PA           15259
    Counsel to SAP America, Inc.         Brown & Connery, LLP                 Kenneth J. Schweiker, Jr.               6 North Broad Street, Suite 100                                  Woodbury          NJ      08096-0000
    Top 20 Creditor                      Bulkley Dunton Publishing Group      Tony V. Occhiuto                        P.O. Box 403565                                                  Atlanta           GA      30384-3656
    Top 20 Creditor                      Cengage Learning                     Sandra Fluker                           5191 Natorp Blvd.                                                Mason             OH           45040
                                         Central National-Gottesman Inc.
    Top 20 Creditor                      (Lindenmeyr)                         Steven Wright                           990 Washington Street                Suite 211                   Dedham            MA              02026

    Counsel to Paymentech, LLC           Chase Paymentech Solutions LLC       Attn Lazonia Clark                      14221 Dallas Pwky Bldg II                                        Dallas            TX              75254
    Top 20 Creditor                      Cognizant Technology Solutions       Badri Ramanujachari                     500 Frank W Burr Blvd                                            Teaneck           NJ              07666
                                         Department of Justice US Attorney
    US Department of Justice             General                              Commercial Litigation Branch            Michael B Mukasey                    950 Pennsylvania Ave NW     Washington        DC      20530-0001
    New York State Department of         Department of Taxation and
    Taxation                             Finance                              Office of Counsel                       Building 8, WA Harriman Campus                                   Albany            NY              12227
    Top 20 Creditor                      Edu 2000 America, Inc.               Rob Fiance                              5743 Corsa Ave                       Suite 222                   Ventura           CA              91362

    Counsel for the Indenture Trustee
    for the 10.5% Notes and Prepetition
    Senior Secured Notes Trustee                                              Bryant Berg & Mordecai Geisler &
    (Bank of New York Mellon)           Emmet, Marvin & Martin LLP            Ed Zujkowski                            120 Broadway, 32nd Floor                                         New York          NY              10271
    Environmental Protection Agency
    (Regional)                          Environmental Protection Agency       Region 2                                290 Broadway                                                     New York          NY      10007-1866
    Counsel to Larson Texts, Inc.
    (“Larson”)                          Graydon Head & Ritchey LLP            J. Michael Debbeler                     1900 Fifth Third Center              511 Walnut Street           Cincinnati        OH      45202
                                                                              Mark T. Power & Lauren S.
    Counsel to Encore Software, Inc.     Hahn & Hessen LLP                    Schlussel                               488 Madison Avenue                                               New York          NY      10022
    IRS                                  Internal Revenue Service             Centralized Insolvency Operation        PO Box 7346                                                      Philadelphia      PA      19101-7346
    IRS                                  Internal Revenue Service             Centralized Insolvency Operation        2970 Market St                                                   Philadelphia      PA      19104
    IRS                                  Internal Revenue Service             Insolvency Section                      31 Hopkins Plz Rm 1150                                           Baltimore         MD      21201
    Iron Mountain Information            Iron Mountain Information
    Management, Inc.                     Management, Inc.                     Joseph Corrigan                         745 Atlantic Avenue, 10th Floor                                  Boston            MA      02111

    Top 20 Creditor                      Kue Digital Inc, DBA Global Scholar Kal Raman                                1100 112th Avenue NE, Suite 100      South Building              Bellevue          WA              98004
    Top 20 Creditor                      Laserwood Private Limited           Mark O’Brien                             P.O. Box 2865                                                    Buffalo           NY              14209
    Counsel to Carrollton-Farmers
    Branch Independent School Dsitrict
    and Lewisville Independent School
    District                           Law Offices of Robert E Luna PC        Andrea Sheehan                          4411 N Central Expressway                                        Dallas            TX              75205
    Counsel to Tarrant County and      Linebarger Goggan Blair &
    Dallas County                      Sampson, LLP                           Elizabeth Weller                        2323 Bryan Street, Ste 1600                                      Dallas            TX              75201
                                       Marshall Cavendish International (s)
    Top 20 Creditor                    PTE                                    Joy Tan                                 Times Centre 1 New Industrial Road                                                             536196 Singapore
    Counsel to Claimant, The County of McCreary Veselka Bragg & Allen
    Denton, Texas                      PC                                     Michael Reed                            P.O. Box 1269                        State Bar Number 16685400   Round Rock        TX      78680
    Top 20 Creditor                    McKinsey & Company Inc.                William Wolf                            P.O. Box 7247-7255                                               Philadelphia      PA      19170-7255
    New York City Tax Department       New York City Tax Commission                                                   Municipal Building                   1 Center St, Room 936       New York          NY            10007
                                       Office of the NY State Attorney
    NY Attorney General                General                                Eric T Schneiderman                     The Capitol                                                      Albany            NY      12224-0341
                                       Office of the US Attorney for the      United States Attorney Preet
    US Attorneys Office                Southern District of NY                Bharara                                 One St Andrew's Plz                                              New York           NY     10007
    Top 20 Creditor                    Penguin Group USA                      Laura Cerminaro                         1 Lake St.                                                       Upper Saddle River NJ             07458
    Pension Benefit Guaranty
    Corporation                        Pension Benefit Guaranty Corp          Attn Dana Cann                          1200 K St NW                                                     Washington        DC      20005-4026




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                              6/18/2012
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                                                                                                                      Overnight Service List

         PARTY DESCRIPTION                              COMPANY                                CONTACT                                 ADDRESS 1                     ADDRESS 2                     CITY   STATE      ZIP          COUNTRY
    Pension Benefit Guaranty
    Corporation                             Pension Benefit Guaranty Corp          Attn Marie-Christine Fogt             1200 K St NW                                                     Washington      DC      20005-4026
    Top 20 Creditor                         Phoenix Color Corp.                    Jennifer Dick                         11631 Caroline Road                                              Philadelphia    PA           19154
    Top 20 Creditor                         RRD-Asia Printing Solutions            Eileen R. Ly                          3 On Yiu Street                                                  Shek Mun        NT                      Hong Kong
    Top 20 Creditor                         RRD-Receivables Inc.                   Dan Pevonka                           3075 Highland Parkway                                            Donners Grove   IL              60515

    SEC Headquarters                        Securities & Exchange Commission Secretary of the Treasury                   100 F St NE                                                      Washington      DC      20549
                                            Securities & Exchange Commission George S Canellos Regional
    SEC Regional Office                     NY Office                        Director                                    3 World Financial Center Ste 400                                 New York        NY      10281-1022
    Counsel for the Prepetition L/C
    Bank and Wells Fargo Bank NA            Seyfarth Shaw LLP                      William J. Hanlon, Esq.               World Trade Center East            Two Seaport Lane, Suite 300   Boston          MA              02210

    Counsel for the Debtors’ Proposed
    Postpetition Lenders, Agent for the
    First Lien Credit Facility, and
    Prepetition First Lien Facility Agent
    (DIP/Exit Agents) //Citibank, N.A.,
    as Administrative Agent and
    Collateral Agent under the First Lien
    Credit Agreement and
    Administrative Agent under the DIP                                             Fredric Sosnick & Edmund M.
    Credit Facility                         Shearman & Sterling LLP                Emrich                                599 Lexington Avenue                                             New York        NY              10022
    Top 20 Creditor                         Six Red Marbles                        Katie Turcot                          P.O. Box 37038                                                   Baltimore       MD              21208
    Counsel to Pension Benefit                                                     Justin S. Alex and Samuel C.
    Guaranty Corporation                    SNR Denton US LLP                      Batsell                               1200 K Street Northwest                                          Washington      DC              20005
    Counsel to Texas Education                                                     Hal F. Morris Assistant Attorney
    Agency                                  Texas Attorney General’s Office        General                               P. O. Box 12548, MC-008                                          Austin          TX      78711-2548
    Top 20 Creditor                         Texas Education Agency                 Robert Scott                          1701 N Congress Ave                                              Austin          TX           78701
    Counsel to YRC Inc. dba YRC
    Freight, USF Holland Inc                Thrasher, Dinsmore & Dolan             Matthew H. Matheney                   1400 W. 6th Street, Suite 400                                    Cleveland       OH      44114
    Top 20 Creditor                         Trendset Inc.                          Deanna Moore                          4 Interchange Blvd.                                              Greenville      SC      29607-5700
    Environmental Protection Agency         US Environmental Protection
    (US)                                    Agency                                                                    1200 Pennsylvania Ave NW              Ariel Rios Building           Washington      DC      20004
    US Trustee for the Southern District    US Trustee for the Southern District   Andrea B. Schwartz, Assistant U.S.
    of NY                                   of NY                                  Trustee                            33 Whitehall St 21st Fl               Region 2                      New York        NY      10004
    Top 20 Creditor                         WL-Williams Lea Inc.                   Matt Alcorn                        1 Dag Hammarskjold Plaza              8th Floor                     New York        NY              10017




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                    6/18/2012
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                              Exhibit B
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                                                                                      Email Service List

                         PARTY DESCRIPTION                            COMPANY                                     CONTACT                              EMAIL
                    Top 20 Creditor                         ADP National Account Service           Gayle Kuhr                            gayle.kuhr@adp.com
                                                                                                                                         idizengoff@akingump.com
                    Counsel for the Informal Creditor       Akin Gump Strauss Hauer & Feld,        Ira S. Dizengoff & Philip C. Dublin & pdublin@akingump.com
                    Group                                   LLP                                    Rachel Ehrlich Albanese               ralbanese@akingump.com
                    Top 20 Creditor                         American Express                       Donna Janeczko                        maxine.m.drachman@aexp.com
                    Top 20 Creditor                         APC Workforce Solutions LLC            Jinnene Marin                         sales@zerochaos.com
                    Counsel to SAP America, Inc.            Brown & Connery, LLP                   Kenneth J. Schweiker, Jr.             kschweiker@brownconnery.com
                                                                                                                                         tony.occhiuto@ipaper.com;
                    Top 20 Creditor                         Bulkley Dunton Publishing Group        Tony V. Occhiuto                      frank.calabro@ipaper.com
                    Top 20 Creditor                         Cengage Learning                       Sandra Fluker                         sandra.fluker@cengage.com
                                                            Central National-Gottesman Inc.                                              swright@lbppaper.com;
                    Top 20 Creditor                         (Lindenmeyr)                           Steven Wright                         butrym@cng-inc.com
                                                                                                                                         lazonia.clark@chasepaymentech.c
                    Counsel to Paymentech, LLC              Chase Paymentech Solutions LLC         Attn Lazonia Clark                    om
                                                                                                                                         badri.ramanujachari@cognizant.co
                    Top 20 Creditor                         Cognizant Technology Solutions         Badri Ramanujachari                   m

                    Counsel for the Indenture Trustee
                    for the 10.5% Notes and Prepetition                                                                               bberg@emmetmarvin.com
                    Senior Secured Notes Trustee                                                   Bryant Berg & Mordecai Geisler &   ezujkowski@emmetmarvin.com
                    (Bank of New York Mellon)           Emmet, Marvin & Martin LLP                 Ed Zujkowski                       mgeisler@emmetmarvin.com
                    Counsel to Larson Texts, Inc.
                    (“Larson”)                          Graydon Head & Ritchey LLP                 J. Michael Debbeler                mdebbeler@graydon.com
                                                                                                   Mark T. Power & Lauren S.          mpower@hahnhessen.com
                    Counsel to Encore Software, Inc.        Hahn & Hessen LLP                      Schlussel                          lschlussel@hahnhessen.com
                    IRS                                     Internal Revenue Service               Insolvency Section                 marie.l.cerchero@irs.gov
                    Iron Mountain Information               Iron Mountain Information
                    Management, Inc.                        Management, Inc.                       Joseph Corrigan                    Bankruptcy2@ironmountain.com
                    Top 20 Creditor                         Laserwood Private Limited              Mark O’Brien                       mark.obrien@laserword.com
                    Counsel to Carrollton-Farmers
                    Branch Independent School Dsitrict
                    and Lewisville Independent School
                    District                                Law Offices of Robert E Luna PC        Andrea Sheehan                     sheehan@txschoollaw.com
                    Counsel to Tarrant County and           Linebarger Goggan Blair &
                    Dallas County                           Sampson, LLP                           Elizabeth Weller                   dallas.bankruptcy@publicans.com
                                                            Marshall Cavendish International (s)
                    Top 20 Creditor                         PTE                                    Joy Tan                            joytan@sg.marshallcavendish.com
                    Top 20 Creditor                         McKinsey & Company Inc.                William Wolf                       hrsc@mckinsey.com
                                                            Office of the NY State Attorney                                           Nancy.Lord@OAG.State.NY.US
                    NY Attorney General                     General                                Eric T Schneiderman                Neal.Mann@OAG.State.NY.US
                    Top 20 Creditor                         Penguin Group USA                      Laura Cerminaro                    laura.cerminaro@pearson.com
                    Pension Benefit Guaranty
                    Corporation                             Pension Benefit Guaranty Corp          Attn Dana Cann                     efile@pbgc.gov
                    Pension Benefit Guaranty
                    Corporation                             Pension Benefit Guaranty Corp          Attn Marie-Christine Fogt          efile@pbgc.gov
                    Top 20 Creditor                         Phoenix Color Corp.                    Jennifer Dick                      jdick@phoenixcolor.com
                    Top 20 Creditor                         RRD-Receivables Inc.                   Dan Pevonka                        dan.pevonka@rrd.com

                    SEC Headquarters                        Securities & Exchange Commission Secretary of the Treasury                secbankruptcy@sec.gov
                                                            Securities & Exchange Commission George S Canellos Regional
                    SEC Regional Office                     NY Office                        Director                                 secbankruptcy@sec.gov
                    Counsel for the Prepetition L/C
                    Bank and Wells Fargo Bank NA            Seyfarth Shaw LLP                      William J. Hanlon, Esq.            whanlon@seyfarth.com

                    Counsel for the Debtors’ Proposed
                    Postpetition Lenders, Agent for the
                    First Lien Credit Facility, and
                    Prepetition First Lien Facility Agent
                    (DIP/Exit Agents) //Citibank, N.A.,
                    as Administrative Agent and
                    Collateral Agent under the First Lien
                    Credit Agreement and
                    Administrative Agent under the DIP                                             Fredric Sosnick & Edmund M.        fsosnick@shearman.com
                    Credit Facility                         Shearman & Sterling LLP                Emrich                             edmund.emrich@shearman.com
                    Top 20 Creditor                         Six Red Marbles                        Katie Turcot                       k.turcot@sixredmarbles.com
                    Counsel to Pension Benefit
                    Guaranty Corporation                    SNR Denton US LLP                      Fruman Jacobson                    fruman.jacobson@snrdenton.com
                    Counsel to Pension Benefit                                                     Justin S. Alex and Samuel C.       alex.justin@pbgc.gov
                    Guaranty Corporation                    SNR Denton US LLP                      Batsell                            Batsell.Samuel@pbgc.gov
                    Counsel to Texas Education                                                     Hal F. Morris Assistant Attorney   hal.morris@texasattorneygeneral.
                    Agency                                  Texas Attorney General’s Office        General                            gov
                    Top 20 Creditor                         Texas Education Agency                 Robert Scott                       commissioner@tea.state.tx.us
                    Counsel to YRC Inc. dba YRC
                    Freight, USF Holland Inc                Thrasher, Dinsmore & Dolan             Matthew H. Matheney                mmatheney@tddlaw.com

                                                                                                                                      matt.alcorn@williamslea.com;
                    Top 20 Creditor                         WL-Williams Lea Inc.                   Matt Alcorn                        matthew.alcorn@williamslea.com




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                         6/18/2012
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                              Exhibit C
                                       12-12171-reg               Doc 107     Filed 06/18/12 Entered 06/18/12 23:41:34                        Main Document
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                                                                                         Taxing Authorities
                                                                                            Overnight Service List
               Company                                Contact                           Address1                          Address2             Address 3        City       State       Zip    Country
 Alabama Dept of Revenue               Attn Legal Division                   Gordon Persons Bldg               50 N Ripley St Ste 3114                     Montgomery      AL      36130-1001
 Alaska Dept of Revenue                                                      PO Box 110420                     333 W Willoughby 11th Fl SOB                Juneau          AK      99811-0400
 Alberta Finance & Enterprise Dept     Tax and Revenue Administration        Finance Compliance & Collection   9811 109 St                                 Edmonton        AB      T5K 2L5    Canada
 Arizona Dept of Revenue               Attn Bankruptcy Dept                  1600 West Monroe St                                                           Phoenix         AZ      85007
 Arkansas Dept of Finance &
 Administration                        Attn Revenue Legal Counsel            Ledbetter Building                  1816 W 7th St, Room 2380                  Little Rock     AR      72201
 British Columbia Finance Dept         Attn Bankruptcy Dept                  1802 Douglas St                                                               Victoria        BC      V8T 4KC      Canada
 California Dept of Revenue            Attn Bankruptcy                       450 N St MIC 55                                                               Sacramento      CA      95814
 Colorado Dept of Revenue                                                    1375 Sherman St Rm 101                                                        Denver          CO      80261
 Commonwealth of Virginia Dept of
 Taxation                                                                    PO Box 2156                                                                   Richmond        VA      23218
 Comptroller of Maryland Revenue
 Administration Division               Attn Collections Dept                 PO Box 1829                                                                   Annapolis       MD      21411-0001
 Connecticut Dept of Revenue
 Services                              Attn C & E Division Bankruptcy Unit   25 Sigourney St                                                               Hartford        CT      06106
                                       Attn Bankruptcy and Descendent
 Delaware Dept of Revenue              Collections                           Carvel State Office Bldg            820 N French St                           Wilmington      DE      19801
 Deputy Minister of Finance and        Govt of NW Territories Dept of
 Secretary of the FMB                  Finance                               5th Fl Arthur Laing Bldg            5003 49th St                 PO Box 1320 Yellowknife      NT      X1A 2L9    Canada
 Florida Dept of Revenue               Attn Bankruptcy Unit                  5050 West Tennessee St                                                       Tallahassee      FL      32399-0100
 Georgia Dept of Revenue               Attn Bankruptcy Division              PO Box 161108                                                                Atlanta          GA      30321
 Hawaii Dept of Taxation               Attn Bankruptcy Unit                  PO Box 259                                                                   Honolulu         HI      96809
 Idaho State Tax Commission            Attn Bankruptcy Dept                  PO Box 36                                                                    Boise            ID      83722-0410
 Illinois Dept of Revenue              Attn Legal Services                   101 West Jefferson                  MC 5 500                                 Springfield      IL      62702
 Indiana Dept of Revenue               Attn Bankruptcy Collections           100 N Senate Ave                    Rm No N203                               Indianapolis     IN      46204
 Iowa Dept of Revenue and Finance      Attn Bankruptcy Unit                  PO Box 10471                                                                 Des Moines       IA      50306
 Kansas Dept of Revenue                Attn Bankruptcy Collection            915 SW Harrison                     Rm No 230                                Topeka           KS      66612
 Kentucky Dept of Revenue              Attn Legal Support Branch             PO Box 5222                                                                  Frankfort        KY      40602
 Louisiana Dept of Revenue             Attn Bankruptcy Division              617 N 3rd St                                                                 Baton Rouge      LA      70821
 Maine Dept of Revenue                 Attn Paula Thomas                     PO Box 9113                                                                  Augusta          ME      04332-9113
 Manitoba Finance Dept                 Taxation Division                     101-401 York Ave                                                             Winnipeg         MB      R3C 0T8    Canada
 Massachusetts Dept of Revenue         Attn Bankruptcy Unit                  100 Cambridge St                    7th Fl                                   Boston           MA      02114
 Michigan Dept of Treasury             Attn Bankruptcy Unit                  PO Box 30168                                                                 Lansing          MI      48909
 Minnesota Dept of Revenue             Attn Bankruptcy Dept                  600 N Robert St                                                              St Paul          MN      55164
 Mississipi Tax Commission             Attn Bankruptcy Section               PO Box 22808                                                                 Jackson          MS      39225-2808
 Missouri Dept of Revenue              Attn Bankruptcy Unit                  301 W High St                       Rm 670                                   Jefferson City   MO      65105
 Montana Dept of Revenue               Attn Legal Services                   PO Box 5805                                                                  Helena           MT      59604
 Nebraska Dept of Revenue              Attn Bankruptcy Unit                  PO Box 94818                                                                 Lincoln          NE      68509-4818
 Nevada Dept of Taxation               Attn Bankruptcy Dept                  1550 College Pkwy                   Ste 115                                  Carson City      NV      89706
 New Brunswick Dept of Finance                                               Centennial Bldg Rm 371 3rd Fl       670 King St                              Fredericton      NB      E3B 1G1    Canada
 New Hampshire Dept of Revenue         Attn Collection Division              109 Pleasant St                                                              Concord          NH      03301
 New Jersey Division of Taxation       Attn Bankruptcy Dept                  PO Box 245                          50 Barrack St                            Trenton          NJ      08646-0269
 New Mexico Dept of Taxation and
 Revenue                               Attn Bankruptcy Section               PO Box 8575                                                                   Albuquerque     NM      87198-8575
 New York State Dept of Taxation and   Attn Collections and Civil
 Finance                               Enforcement Division                  Bankruptcy Section                  PO Box 5300                               Albany          NY      12205
 Newfoundland & Labrador Dept of                                             3rd Fl East Block Confederation
 Finance                                                                     Bldg                                PO Box 8700                               St Johns        NL      A1B 4J6    Canada
 North Carolina Dept of Revenue        Attn Bankruptcy Unit                  PO Box 1168                                                                   Raleigh         NC      27602-1168
                                       Attn Office of State Tax
 North Dakota State Tax Dept           Commissioner                          600 E Blvd Ave                                                                Bismark         ND      58505-0599


In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                             6/18/2012
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                                                                                        Taxing Authorities
                                                                                          Overnight Service List
              Company                                 Contact                          Address1                          Address2           Address 3            City     State     Zip     Country
 Nova Scotia Dept of Finance                                                PO Box 187                       1723 Hollis St                              Halifax          NS    B3J 2N3     Canada
 Nunavut Department of Finance        Attn Steven James                     PO Box 1000 Station 330                                                      Iqaluit          NU    XOA OHO     Canada
                                      Attn Bankruptcy Division Rebecca
 Ohio Dept of Taxation                Daum                                  PO Box 530                                                                   Columbus         OH   43216
 Oklahoma Tax Commission              Attn Legal Division                   120 N Robinson Ste 2000                                                      Oklahoma City    OK   73102
 Ontario Ministry of Finance          Attn Kevin OHara Snr Counsel          33 King St W 6th Fl                                                          Oshawa           ON   L1H 8H5    Canada
 Oregon Dept of Revenue               Attn Bankruptcy Unit                  955 Center St NE                                                             Salem            OR   97301-2555
 Pennsylvania Dept of Revenue         Attn Compliance & Bankruptcy          Strawberry Square                 4th & Walnut Sts             Dept 280946   Harrisburg       PA   17128

 Prince Edward Island Dept of Finance                                       Shaw Bldg 2nd Fl S                95 Rochford St               PO Box 2000 Charlottetown      PE   C1A 7N8      Canada
 Quebec Ministere de Finance          Attn Legal Dept                       8 rue Cook                        4th Fl                                   Quebec             QB   G1R 0A4      Canada
 Rhode Island Division of Taxation    Attn Ann Marie Bolduc                 1 Capital Hill                    Collections Section 1st Fl               Providence         RI   02908
                                      Revenue Division Margaret
 Saskatchewan Department of Finance Johannsson                              2350 Albert St                                                               Regina           SK   S4P 4A6      Canada
 South Carolina Dept of Revenue       Attn Bankruptcy Section               PO Box 125                                                                   Columbia         SC   29214
 South Dakota Dept of Revenue         Attn Bankruptcy Dept                  445 E Capitol Ave                                                            Pierre           SD   57501
 Tennessee Dept of Revenue            Attn Bankruptcy Division              PO Box 20207                                                                 Nashville        TN   37202
 Texas Dept of Revenue                Attn Bankruptcy Section               PO Box 13528                                                                 Austin           TX   78711
 Utah Dept of Taxation                Attn Bankruptcy Section               210 N 1950 West                                                              Salt Lake City   UT   84134
 Vermont Dept of Taxes                Attn Legal                            PO Box 429                        133 State St                               Montpelier       VT   05633
 Washington DC Office of Tax and
 Revenue                                                                    941 N Capitol St NE 1st Fl                                                   Washington       DC   20002
 Washington Dept of Revenue           Attn Bankruptcy Unit                  2101 4th Ave Ste 1400                                                        Seattle          WA   98121
 West Virginia State Tax Dept         Attn Legal Division Bankruptcy Unit   PO Box 766                                                                   Charleston       WV   25323-0766
 Wisconsin Dept of Revenue                                                  PO Box 8901                                                                  Madison          WI   53708-8901
 Wyoming Dept of Revenue                                                    122 W 25th St                                                                Cheyenne         WY   82002
 Yukon Dept of Finance Accounts                                             Yukon Government Administration
 Receivable                                                                 Bldg 3rd Fl Finance               2071 2nd Ave                               Whitehorse       YT   Y1A 2C6      Canada




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                         6/18/2012
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                              Exhibit D
                                             12-12171-reg                   Doc 107         Filed 06/18/12 Exhibit
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                                                                                                                        06/18/12 23:41:34                                Main Document
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                                                                                                             Bank    12
                                                                                                            Overnight Service List

                     Creditor Name                         Creditor Notice Name                    Address 1                    Address 2                            Address 3                    City          State       Zip      Country
    1st Source Bank                                                                     306 East Main Street         1st Source Bank-PAMB             Suite 100                             Niles              MI       49120
    Bank of America, N. A.                            Robert Douglas                    135 S. LaSalle Street        IL4-135-14-02                                                          Chicago            IL       60603
    Bank of America, N. A.                            Client Service Centre : US Team   2 KING EDWARD STREET                                                                                LONDON                      EC1A 1HQ     England
    BNY Mellon                                                                          One Wall Street                                                                                     New York           NY       10286
    Capital Advisors Group                            Benjamin K. Cambell               29 Crafts Street             Chatham Center                   Suite 270                             Newton             MA       02458
    Citibank                                          Keith Lukasavich                  388 Greenwich Street                                                                                New York           NY       10013
    Citibank                                          Fredric Chen                      Citibank (China) Co., Ltd.   17F                              Excel Center No. 6 Wudinghou Street   Xicheng District   Beijing 100033        China
    Citibank                                                                            Oud Metha Road               4th Floor Citibank Tower         PO Box 749                                               Dubai                 UAE
    Citibank                                                                            Citi Tel Aviv                21 Ha'arba'a Street                                                                       Tel Aviv 64739        Israel
    Community Banks of Colorado                       Christina Zimmerman               7900 E 1st Ave               NMLS #866293                     Lowry Branch                          Denver             CO       80230
    Fidelity Capital Markets                          Daniel J. Fraser                  82 Devonshire Street         V6B                                                                    Boston             MA       02109
    Goldman, Sachs & Co.                              Larry Walsh                       71 South Wacker Drive        Investment Management Division   Global Liquidity Management           Chicago            IL       60606
    JPMorgan Chase Bank, N.A.                         Gary K. Schechter                 One Chase Manahattan Plaza   NY1-A155                                                               New York           NY       10005-1401
    JPMorgan Chase Bank, N.A.                         Ashley (Eun-Hee) Song             Seoul Branch                 J.P. Morgan Plaza                34-35 Jeong-dong                      Jung-gu            Seoul 100-120         Korea
    Morgan Stanley Private Wealth Management          William W. Sahlman                522 Fifth Avenue                                                                                    New York           NY       10036
    State Street Global Advisors                      Tom Francis                       801 Pennsylvania                                                                                    Kansas City        MO       64105
    Wells Capital Management                          Jeffrey Lang                      525 Market Street            10th Floor                                                             San Francisco      CA       94105
    Wells Fargo Bank                                  Michael J. McMorrow               101 Federal Street           Suite 2020                                                             Boston             MA       02110




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                      6/18/2012
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